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                    Case 14-71096             Doc 24        Filed 09/24/14 Entered 09/24/14 12:49:11                            Desc Main
                                                              Document     Page 1 of 4


                                                        IN THE UNITED STATES BANKRUPTCY COURT
                                                         FOR THE WESTERN DISTRICT OF VIRGINIA


                                                         INITIAL or   SUPPLEMENTAL
                                     TRUSTEE'S REPORT & OBJECTIONS FOLLOWING MEETING OF CREDITORS
                                                                    and
                                                             NOTICE TO DISMISS
                                MODIFICATIONS, DOCUMENTS, OR ACTIONS REQUIRED or   READY FOR CONFIRMATION


                     IN RE: MARCUS A. NORDBERG                                    Case#:14-71096-PBR-13
                              ANGELA R. NORDBERG
                              6840 HOFAWGER RD,
                              BOONES MILL,VA 24065


This is the Trustee's report following the initial or      adjourned Meeting of Creditors,
which was held on September 12, 2014 the Debtor             did or  did not attend; Creditors        did or   did not appear.

             The hearing on confirmation and Show Cause on Dismissal is to be held on
               October 6, 2014 , at    9:00 a.m.    9:30 a.m.     10:00 a.m. or    _________ , as noticed;
             Trustee objects to confirmation, and modifications, documents, or actions are required as set forth
              on attached Exhibit "A"
             The Meeting of Creditors IS NOT adjourned;
             The Meeting of Creditors IS adjourned to ____________ at _________________________ -
            Debtor’s Attorney to notice Debtor of the continuance (if Debtor is Pro Se,
            no additional notice necessary).
          Further, if modifications are required, they must be served upon all affected Creditors and other parties in
          interest, pursuant to the Local Rules of this Court, and noticed for hearing as of the date set forth for
          hearing on confirmation, or to such other date as the Court may advise Debtor's counsel.

            WHEREFORE, your Trustee moves the Court to dismiss this case if the requested
modifications, documents, and/or actions have not been completed at least ten days prior to the scheduled
hearing on confirmation, and/or if the Debtor has failed to appear at the original or adjourned Meeting of Creditors,
and/or if the Debtor is not current in Plan payments; and, for other relief as may seem just.


Dated: 09/24/14                                /s/ Christopher Micale
                                                 Christopher Micale, Chapter 13 Trustee

Christopher Micale, Chapter 13 Trustee
P.O. Box 1001, Roanoke, VA 24005
Tel:(540) 342-3774; Fax (540) 342-3062


                                                                   CERTIFICATE OF SERVICE

A copy of this Trustee's Report and Objection Following Meeting of Creditors was mailed to the Debtor and either
e-mailed or mailed to Debtor’s counsel on September 24 , 2014 (if Debtor is Pro Se, no additional notice necessary).

                                                  /s/ Robyn Pedigo
                                                 Christopher Micale, Chapter 13 Trustee
                       Case 14-71096                 Doc 24         Filed 09/24/14 Entered 09/24/14 12:49:11                               Desc Main
                                                                    EXHIBIT "A" TO TRUSTEE'S
                                                                      Document       Page 2REPORT
                                                                                             of 4
Name(s):MARCUS A. NORDBERG & ANGELA R. NORDBERG                                                                  Case#:14-71096-PBR

   1. The Debtor must commence making payments at the rate and in the amounts stated in the Plan. If the Plan calls
for payments through an automatic wage deduction from an employer, the Debtor must make payments
directly to Trustee until the wage deduction takes effect.

   2. The Debtor or Attorney must within 10 days.:
     A.Submit a wage-deduction Order to the Court for entry; or
     ___________________________________________________________________________
     B.Send to the Trustee the employer’s payroll office mailing address so that a wage-deduction Order can be prepared
Comments:
  ___________________________________________________________________________

   3. The Trustee objects to confirmation of the proposed Plan and/or moves to dismiss or convert this case pursuant to
11 U.S.C. § 1307 because:
      A. Debtor ineligible for Chapter 13 pursuant to 11 U.S.C. § 109(e)
      B. Debtor ineligible for Chapter 13: nature of dismissal of prior case 11 U.S.C. §109(g)
      C. Debtor ineligible for Chapter 13: failure to obtain pre-petition credit counseling 11 U.S.C. § 109(h)
      D. Insufficient future income devoted to Trustee’s control to assure execution of the Plan 11 U.S.C. §1322(a)(1)
      E. Plan does not provide for payment in full of all priority claims 11 U.S.C. § 1322(a)(2)
      F. Plan discriminates unfairly against a designated class of unsecured claims 11 U.S.C. § 1322(b)(1)
      G. Plan does not provide for the appropriate plan payment period 11 U.S.C. § 1322(d)
         Plan payment period should be ____________ months.
      H. Plan does not comply with all applicable provisions of the Bankruptcy Code 11 U.S.C. § 1325(a)(1)
      I. Filing fees or other amounts required to be paid before confirmation have not been paid 11 U.S.C. § 1325(a)(2)
      J. Plan has not been proposed in good faith 11 U.S.C. § 1325(a)(3)
      K. Plan does not meet the Chapter 7 liquidation test 11 U.S.C. § 1325(a)(4)
      L. Plan fails to properly provide for the retention of a lien by an allowed secured claim holder 11 U.S.C. § 1325(a)(5)(B)(i)
      M. Amount to be distributed to allowed secured claim is less than the claim’s allowed amount 11 U.S.C. § 1325(a)(5)(B)(ii)
      N. Periodic payments to an allowed secured claim are not in equal monthly installments 11 U.S.C. § 1325(a)(5)(B)(iii)
      O. Payments to creditor secured by personal property insufficient to provide adequate protection 11 U.S.C. § 1325 (a)(5)(B)(iii)
      P. Debtor will not be able to make all payments under plan or comply with plan; plan infeasible 11 U.S.C. § 1325 (a)(6)
      Q. Debtor did not file the petition in good faith 11 U.S.C. § 1325 (a)(7)
      R. Debtor has not demonstrated that all post-petition support payments have been made 11 U.S.C. § 1325 (a)(8)
      S. Debtor has not filed all applicable Federal, State and local tax returns (§ 1308) 11 U.S.C. § 1325 (a)(9)
      T. Plan fails to provide that all of the debtor’s projected disposable income in the applicable commitment period will be applied
  to plan payments 11 U.S.C. § 1325 (b)(1)(B)
      U. Plan as proposed is underfunded (not sufficient funds for Trustee to pay claims as proposed in plan)
      V. Debtor is in default of plan/Trustee payments.
     W.Note: Planmust Pay 100% of unsecured claims because of:     Chapter 7 Test     Disposable Income Test    Equity in Real Property
  ******Chaper 7 test requires ____________ for unsecured creditors and current plan provides for ____________ to unsecured creditors
      X. A Chapter 13 plan was not filed with the Bankruptcy Court (Rule 3015, Code Sections 1307 and 1321 require dismissal)
      Y. Other: ___________________________________________________________________________
Comments:
   K: To the extent any inchoate or future interest or other post-petition asset is disclosed, the property should revest in the Debtor(s) only to the extent it
is now exempt or could be claimed as exempt once realized;

T: To the extent the Debtors revealed new income at the Meeting of Creditors and are not proposing to pay interest to the allowed creditors.

Y; The Debtors should pay the allowed unsecured creditors in full together with 3% interest. The Trustee recommends adding language to the confirmation
order, if achieved, that allowed unsecured creditors shall be paid in full together with 3% interest.

   4. The Debtor must provide the Trustee with the following documents:
      A. Copy of all of the Debtor’s pay stubs, operating statements (if self employed), retirement checks, or government benefits
(Social Security, Unemployment, Insurance, etc.) received in the 60 day period before this case was filed
      B. Copy of any previously filed Homestead Deed(s)
      C. Within ___ days a copy of all delinquent unfiled income tax returns, plus a statement confirming that returns have been filed
with (as applicable) Special Procedures Division of the IRS and the Bankruptcy Department of the Virginia Department of Taxation in Richmond
      D. Copy of the Debtor’s real estate and/or personal property documents
         Real estate tax assessment for the current year
         Personal property tax assessment for the current year
         Most recent real estate appraisal
      E. A copy of deed conveying real property to Debtor(s)
      F. A copy of current car insurance declaration page stating term of coverage, kinds of coverage, and total premium
      G. A copy of the following state or federal income tax returns: ___________________
      H. Copy of debt repayment plan developed through budget counseling process 11U.S.C. § 109(h), 521(b)
      I. Copy of documents evidencing debtor’s interest in education individual retirement account 11U.S.C. § 521(c)
     J. Documents, properly summarized, to support:
     ___________________________________________________________________________
      K. The questionnaire sent to the Debtor by the Trustee (with all questions answered)
      L. A copy of the Debtor’s most recently filed federal income tax return ___________________ 11U.S.C. § 521(e)(2)
      M. Pursuant to 11 U.S.C. § 521(f) a copy of:
         1. Each federal income tax return (and amendments) filed for any tax year ending while this case is pending;
         2. Each federal income tax return (and amendments) that (a) is filed for any year ending in the three year period ending
on the date this case was filed, and (b) had not been filed when this case was filed;
        3.A statement under oath, to be filed annually at least 45 days before the anniversary of the plan’s confirmation date, of
(a)income & expenditures for the most recently concluded tax year, and (b) monthly income (showing how calculated)
      N. DSO information needed: payee name, address, and phone number
       O. The debtor shall file a pre-confirmation affidavit or provide other evidence (etc) unless one has already been filed or the requirement
is inapplicable to this debtor.
     P. Proof of post-petition house payments through confirmation.
     ___________________________________________________________________________
    Q. Other:            Case 14-71096              Doc 24         Filed 09/24/14 Entered 09/24/14 12:49:11               Desc Main
                                                                     Document
    ___________________________________________________________________________
Comments:
                                                                                  Page 3 of 4
    ___________________________________________________________________________

   5. The Debtor must provide the Trustee with the following information:
     ___________________________________________________________________________

   6. The Debtor must file the following pleading(s):
     A. Complaint to Avoid Lien for:
     ___________________________________________________________________________
      B. Application for Allowance of attorney’s fees in excess of usually allowed amount.
      C. Motion to Make Plan Payments Direct
     D. Special Notice for Adequate Protection for:
     ___________________________________________________________________________
      E. Motion to Extend or Impose Automatic Stay
     F. Other:
    ___________________________________________________________________________
Comments:
  ___________________________________________________________________________

   7. The Debtor must amend and re-file the following Schedules to provide complete and accurate information:
     A. Schedule A:
     ___________________________________________________________________________
     B. Schedule B:
     ___________________________________________________________________________
      C. Schedule C:
      ___________________________________________________________________________
     (1)Trustee objects to the following claims of exemption:
      ___________________________________________________________________________
     D. Schedule D:
     ___________________________________________________________________________
     E. Schedule E:
     ___________________________________________________________________________
     F. Schedule F:
     ___________________________________________________________________________
     G. Schedule G:
     ___________________________________________________________________________
     H. Schedule H:
     ___________________________________________________________________________
     I. Schedule I:
     To reveal new employment and income per testimony at Meeting of Creditors.
     J. Schedule J:
     To update expenses with new income.
     K. Statement of Financial Affairs:
     ___________________________________________________________________________
     L. Attorney Disclosure Statement:
     ___________________________________________________________________________
     M. Form 21 (Social Security #):
     ___________________________________________________________________________
     N. Petition:
     ___________________________________________________________________________
     O. Statement of anticipated increases in income/expenses over first 12 months:
     ___________________________________________________________________________
     P. Form B22C (Current Monthly Income):
     ___________________________________________________________________________
     Q. Other:
     ___________________________________________________________________________

   8. The Debtor must amend the proposed plan as follows:
     A. To provide for adequate protection payments pursuant to § 1326 for the following secured creditor(s):
     ___________________________________________________________________________
      B. To amend Plan to pay secured debt arrearage in full, or file objection to claim filed by lienholder (objection
to be heard and/or resolved by the date of confirmation), for the following creditor(s):
      ___________________________________________________________________________
      C. To provide for submission to the Trustee copies of operating statements and proof of tax payments every
calendar quarter during Plan.
     D. To increase Plan payments as follows:
     ___________________________________________________________________________
      E. To correct proposed percentage payout to unsecured creditors.
     F. To provide for the following priority or secured claims, or object to claim(s):
     ___________________________________________________________________________
     G. File, notice, and properly serve “Special Notice to Secured Creditor” for:
     ___________________________________________________________________________
      H. Redo plan using proper Plan format (see Court’s web site)
     I. Other:
    ___________________________________________________________________________
Comments:
  ___________________________________________________________________________

   9. The Plan needs to be re-noticed to:
      A. All creditors
     B. The following creditors:
     ___________________________________________________________________________
   10. If debtor is current at scheduled confirmation date of ___________________ , Trustee agrees to continue
confirmation past the bar date.
   11. Pay Stub analysis cannot be completed until receipt of information requested in #4 A.
   12. Debtor ineligible for discharge because of recent discharge in prior case 11 U.S.C. § 1328(f).
   13. Trustee withholding recommendation pending review of actions, information, or documentation requested.
                    Case 14-71096            Doc 24        Filed 09/24/14 Entered 09/24/14 12:49:11
     ___________________________________________________________________________                                      Desc Main
                                                             Document     Page 4 of 4
   14. At this time, nothing further is required, and Plan appears to be confirmable as is, provided that Debtor is
current in Plan payments as of confirmation date and section 4 letter O of this report is provided for.
